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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                           FORT MYERS DIVISION

ADIRONDACK RADIOLOGY
ASSOCIATES, P.C.,

      Petitioner/Plaintiff,

v.                                                   CASE NO.:

INTEGRITY MEDICAL SYSTEMS, INC.,

      Respondent/Defendant.
                                              /


       COMPLAINT AND PETITION TO COMPEL ARBITRATION

      Petitioner/Plaintiff, Adirondack Radiology Associates, P.C. (“Adirondack”),

by and through its undersigned attorneys, sues Respondent/Defendant, Integrity

Medical Systems, Inc. (“Integrity”), and petitions the Court to compel arbitration,

alleging as follows:

                                 INTRODUCTION

      1.     This is an action for breach of contract and fraudulent misrepresentation

under the laws of the State of Florida, and to compel arbitration pursuant to a written

agreement between the parties that provides for arbitration of disputes.

      2.     Adirondack seeks an order from this court under the Federal Arbitration

Act, 9 U.S.C. §4, compelling Respondent, Integrity Medical Systems, Inc.
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(“Integrity”) to arbitrate the dispute between the parties and staying the underlying

claims for breach of contract and fraudulent misrepresentation until such arbitration

has been had pursuant to the parties’ agreement.

                                      PARTIES

      3.     Adirondack is a radiology and medical diagnostic imaging company

that provides comprehensive radiological and imaging services to patients.

      4.     Adirondack is a professional corporation in good standing organized

under the laws of the state of New York with its principal place of business located

in Glens Falls, New York.

      5.     Integrity Medical Systems, Inc. is a company engaged in the sale of

new, used and refurbished medical imaging equipment.

      6.     Integrity is a corporation in good standing organized under the laws of

the state of Florida with its principal place of business located in Fort Myers, Florida.

                          JURISDICTION AND VENUE

      7.     This Court has subject matter jurisdiction over this action pursuant to

28 U.S.C. § 1332(a)(1) because the action is between citizens of diverse states and

the amount in controversy is in excess of seventy-five thousand dollars ($75,000.00),

exclusive of interest and costs.

      8.     This Court has jurisdiction over the person of the Defendant because

the Defendant either resides or transacts business within this District, and the


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Defendant is amenable to service of process within the meaning of Federal Rule of

Civil Procedure (4)(e).

      9.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(1) and

(c)(2) because Integrity is subject to the Court’s personal jurisdiction and maintains

its principal place of business in Fort Myers, Florida.

      10.    Venue is also proper in this District because, pursuant to 9 U.S.C. §

204, a party should bring a petition to compel arbitration in the District that has

jurisdiction over the matter and where the parties agreed to arbitrate any disputes

between them. The parties agreed that Lee County, Florida be the “venue of

jurisdiction,” and that the laws of the State of Florida shall govern the enforcement

and interpretation of the parties’ agreement and all other issues concerning the sale

of medical equipment that is the subject of the parties’ agreement.

                                       FACTS

      11.    On or about January 24, 2020, Adirondack entered into a purchase

Agreement (“the Agreement”) with Integrity Medical Systems, Inc. for the purchase

and installation of a used Extremity MRI GE/ONI Optima MR430s 1.5T (“the MRI

Machine”) at a purchase price of $157,500.00. A copy of the Agreement is attached

as Exhibit A 1.


1
 The copy of the Agreement that is attached is signed only by Adirondack. Adirondack
has requested from Integrity a copy of the Agreement that has been signed by Integrity;
however, Integrity has failed to provide a copy of the fully executed Agreement. As part
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      12.    The Agreement stated that installation was expressly included in the

equipment purchase, and the “Completion of installation” was defined as, “the

moment the equipment has been installed and has produced the first diagnostic-

quality phantom image.”

      13.    On or about January 27, 2020, Adirondack made a 25% down payment

to Integrity in the amount of $39,375.00.

      14.    On or about February 25, 2020, Adirondack made a 65% down payment

to Integrity in the amount of $102,375.00.

      15.    On March 4, 2020, the MRI Machine arrived at Adirondack’s facility

in Saratoga, New York and Ralph Childs of ProScan, LLC, a person who was

retained by Integrity, attempted installation but was unsuccessful.

      16.    On or about April 20, 2020, Adirondack made a 10% final payment to

Integrity in the amount of $15,750.00.

      17.    Between March 2020 and June 2020, COVID-19 caused some delays

in the installation of the MRI Machine, however, on September 14, 2020, Mr. Childs

returned to Adirondack’s facility in an attempt to complete the installation of the

MRI Machine but was unsuccessful.

      18.    On October 26, 2020, Mr. Childs discovered that a “coldhead” in the



of discovery in this case, Adirondack intends to request a copy of the fully executed
Agreement.
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MRI Machine needed to be replaced in order for him to complete installation, and

Mr. Childs reported this fact to Integrity.

        19.   On October 27, 2020, Integrity’s CEO, David Denholtz, notified

Adirondack’s Practice Administrator, Lee Johnson, that Mr. Denholtz was working

on the next steps with Mr. Childs.

        20.   On October 29, 2020, Mr. Johnson requested an update from Mr.

Denholtz, and Mr. Denholtz responded that he was locating the best source for

replacement of the “coldhead” and that he would get back with Mr. Johnson later

that day, however, Mr. Denholtz did not get back with Mr. Johnson that day.

        21.   On November 3, 2020, Mr. Johnson again requested an update from

Mr. Denholtz, and Mr. Denholtz responded that he located a “coldhead” and that the

“compressor” may also need to be replaced.

        22.   On November 19, 2020, Mr. Denholtz notified Mr. Johnson that

November 24, 2020 and December 1, 2020 were tentative dates for someone to go

to Adirondack’s facility to check-up on the “coldhead” and compressor, yet no one

ever came on either of those dates.

        23.   After not receiving an update from Mr. Denholtz, Mr. Johnson

requested updates from Mr. Denholtz on December 1, 2020 and on December 2,

2020.




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      24.   On December 3, 2020, Mr. Denholtz notified Mr. Johnson that the

“coldhead” was on order and he would have a shipping date the following day.

      25.   After not receiving an update from Mr. Denholtz, Mr. Johnson again

requested updates from Mr. Denholtz on December 8, 2020, and on December 10,

2020, and on December 11, 2020 Mr. Denholtz responded that he was still waiting

on the shipping information for the “coldhead”.

      26.   On December 14, 2020, Mr. Denholtz notified Mr. Johnson that the

“coldhead” was “ready to go” and could be scheduled as soon as the following day,

however, Mr. Denholtz did not attempt to schedule installation of the “coldhead” the

following day.

      27.   Between December 31, 2020 and February 4, 2021, Mr. Denholtz

continued to lead Mr. Johnson to believe that he had a plan in place to replace the

“coldhead” and complete installation.

      28.   On January 15, 2021, Mr. Childs confirmed to Mr. Johnson that the

MRI Machine had never been ramped up and had failed due to “coldhead” and

cryogen problems.

      29.   On January 18, 2021, Mr. Childs confirmed to Mr. Johnson that no first

scan was ever produced that met manufacturer’s specifications.




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      30.    On February 8, 2021, Mr. Denholtz informed Mr. Johnson that Mr.

Denholtz had fired Mr. Childs and retained Steve Ford through an intermediary, John

Cline, who needed to perform further inspection of the MRI Machine.

      31.    On February 12, 2021, Mr. Ford performed an inspection on the MRI

Machine, and on February 16, 2021 Mr. Ford sent a proposal to complete installation

of the MRI Machine, budgeting nine (9) days of labor at a cost of $71,950.00.

      32.    On February 23, 2021, Mr. Denholtz informed Mr. Johnson that he had

negotiated Mr. Ford’s proposal to a lower amount.

      33.    Between February 26, 2021 and March 26, 2021, Adirondack continued

its attempt to work with Integrity to complete the installation of the MRI Machine,

however, Integrity failed to follow through with the installation.

      34.    On March 29, 2021, Adirondack obtained a proposal for the completion

of installation of the MRI Machine from Mr. Childs with ProScan, LLC, at a price

of $42,500.00.

      35.    Mr. Childs completed the installation of the MRI Machine on or about

April 21, 2021.

      36.    On or about May 12, 2021, the MRI Machine became fully operational

such that it could began scanning patients.

      37.    All conditions precedent to the bringing of this action, if any, have been

performed and satisfied.


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             COUNT I – PETITION TO COMPEL ARBITRATION

      38.    Adirondack realleges and incorporates by reference paragraphs 1

through 37 above as if fully set forth herein.

      39.    Adirondack seeks an order from this Court under the Federal

Arbitration Act, 9 U.S.C. § 4, compelling Integrity to arbitrate the underlying dispute

between the parties.

      40.    Paragraph 13 of the Agreement states:

                [t]his purchase has been transacted at the Seller’s place of
                business located at 13831 Jetport Commerce Pkwy, Fort
                Myers, Florida; and as such the laws of the state of Florida,
                with Lee County as venue of jurisdiction, shall govern
                enforcement and interpretation of this Agreement and all other
                issues concerning the sale herein. Buyer consents to resolve
                disputes through a process of arbitration at Seller’s discretion.

      41.    Paragraph 13 of the Agreement constitutes a valid arbitration

agreement between the parties that requires all disputes or issues concerning the sale

of the subject MRI Machine to be resolved through arbitration.

      42.    All of Adirondack’s claims against Integrity involve the sale of the MRI

Machine.

      43.    On March 29, 2021, after it became clear that Integrity did not wish to

resolve the dispute in good faith, Adirondack’s corporate counsel notified Integrity

of Adirondack’s intent to submit the dispute to arbitration pursuant to the

Agreement.


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      44.      On March 29, 2021, Adirondack filed a “Submission to Dispute

Resolution” with the American Arbitration Association (“AAA”) and paid a

standard arbitration fee in the amount of $925.00.

      45.      On April 7, 2021 and April 14, 2021, an AAA Manager of ADR

Services, Paris Wilkerson, made a request in writing for a conference call with

Adirondack’s corporate counsel and Mr. Denholtz, however, Mr. Denholtz failed to

respond.

      46.      On April 13, 2021, Adirondack’s corporate counsel wrote to Mr.

Denholtz requesting a response to Ms. Wilkerson’s request for the conference call,

however, Mr. Denholtz failed to respond.

      47.      On April 22, 2021, Ms. Wilkerson sent a letter to Adirondack’s

corporate counsel and Mr. Denholtz to notify the parties that the AAA was

administratively closing the file without prejudice because AAA had not received an

agreement by Integrity to the administrative services of the AAA to conduct the

arbitration.

      48.      Integrity has failed to respond to Adirondack’s request for arbitration

pursuant to the Agreement, has failed to respond to requests and correspondence

from the AAA and has failed to participate in the process of arbitration.




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      49.    Based on the foregoing, the Court should issue an order compelling

arbitration of the dispute between the parties in accordance with the terms of the

agreement between the parties.

      WHEREFORE,          Plaintiff,   Adirondack   Radiology   Associates,    P.C.,

respectfully requests this Court to issue an order compelling Respondent, Integrity

Medical Systems, Inc., to arbitrate all disputes with Adirondack Radiology

Associates, P.C pursuant to 9 U.S.C. §4, enforcing the arbitration clause of the

Agreement entered into by the parties, and to stay the underlying claims until such

arbitration has been had pursuant to the Agreement.

                    COUNT II – BREACH OF CONTRACT

      50.    Adirondack realleges and incorporates by reference paragraphs 1

through 37 above as if fully set forth herein.

      51.    This is an action for breach of contract under the laws of the State of

Florida.

      52.    The Agreement entered into between Adirondack and Integrity is a

valid contract for the purchase of the MRI Machine.

      53.    The Agreement states in pertinent part, “installation is expressly

included in the equipment purchase.”




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       54.   The Agreement further states, “ ‘Completion of Installation’ [COI] will

be defined as the moment the equipment has been installed and has produced the

first diagnostic-quality phantom image.”

       55.   The Agreement required Integrity to complete installation of the MRI

Machine.

       56.   Integrity failed to complete installation of the MRI Machine because

Integrity failed to ensure that the MRI Machine had produced the first diagnostic-

quality phantom image.

       57.   Integrity’s failure to complete installation of the MRI Machine

constitutes a breach of the Agreement entered into between Adirondack and

Integrity.

       58.   As a result of Integrity’s failure to complete installation, Adirondack

was forced to retain Mr. Childs with ProScan, LLC to complete installation at a cost

of $42,500.00.

       59.   As a direct and proximate result of Integrity’s failure to complete

installation, Adirondack has suffered actual damages in the amount of $42,500.00

and Integrity should be held liable for Adirondack’s actual damages, together with

all other economic losses that may be available, including and pre and post judgment

interest.




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         WHEREFORE,         Plaintiff,   Adirondack    Radiology    Associates,    P.C.,

respectfully demands judgment against Integrity Medical Systems, Inc. in the

amount of $42,500.00, plus pre and post judgment interest, costs, and all further

relief that this Court deems just and appropriate.

               COUNT III – FRAUDULENT MISREPRESENTATION

         60.    Adirondack realleges and incorporates by reference paragraphs 1

through 37 above as if fully set forth herein.

         61.    This is an action for fraudulent misrepresentation under the laws of the

State of Florida.

         62.    At all times relevant to the causes of action herein, Mr. Denholtz was

the CEO of Integrity and was acting on behalf of Integrity in all dealings and

communications with Adirondack or its agents.

         63.    Beginning on or before January 1, 2021, Mr. Denholtz, made

representations to Adirondack or its agents that he had ordered a “coldhead” for the

MRI Machine.

         64.    Mr. Denholtz’s representations that he had ordered a “coldhead” were

false.

         65.    Mr. Denholtz’s false representations that he had ordered a “coldhead”

were material because installation of the MRI Machine could not be completed

without the “coldhead” being replaced.


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      66.    At the times Mr. Denholtz represented that he had ordered a

“coldhead,” Mr. Denholtz knew that the representations were false.

      67.    Mr. Denholtz intended for Adirondack to rely on his false

representations that a “coldhead” had been ordered.

      68.    Beginning on or before January 1, 2021, Mr. Denholtz, made

representations to Adirondack or its agents that he or Integrity would arrange for a

“coldhead” to be installed in the MRI Machine.

      69.    Mr. Denholtz’s representations that he or Integrity would arrange for a

“coldhead” to be installed in the MRI Machine were false.

      70.    Mr. Denholtz’s false representations that he or Integrity would arrange

for a “coldhead” to be installed in the MRI Machine were material because

installation of the MRI Machine could not be completed without the “coldhead”

being replaced.

      71.    At the times Mr. Denholtz represented that he or Integrity would

arrange for a “coldhead” to be installed in the MRI Machine, Mr. Denholtz knew

that the representations were false.

      72.    Mr. Denholtz intended for Adirondack to rely on his false

representations that he or Integrity would arrange for a “coldhead” to be installed in

the MRI Machine.




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        73.    Beginning on or before January 1, 2021 until March 29, 2021,

Adirondack relied on Mr. Denholtz’s false representations that the “coldhead” had

been ordered and Mr. Denholtz’s false representations that he or Integrity would

arrange for a “coldhead” to be installed in the MRI Machine.

        74.    In reliance on Mr. Denholtz’s false representations, Adirondack held

off on retaining a person or entity to replace the “coldhead,” and as a result the MRI

Machine was not fully operational such that it was scanning patients until May 12,

2021.

        75.    Integrity should have ensured that installation of the MRI Machine was

complete on or before January 1, 2021.

        76.    As a result of Adirondack’s reliance on Mr. Denholtz’s false

representations, Adirondack has suffered damages in excess of $175,000.00, such

damages having accrued between January 1, 2021 and May 12, 2021.

        WHEREFORE,         Plaintiff,   Adirondack   Radiology    Associates,   P.C.,

respectfully demands judgment against Integrity Medical Systems, Inc., plus pre and

post judgment interest, costs, and all further relief that this Court deems just and

appropriate.

                           DEMAND FOR JURY TRIAL

        Adirondack Radiology Associates, P.C. demands trial by jury with respect to

all claims so triable.


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 Dated this 17th day of June, 2021.



                                Respectfully submitted,

                                s/Bridgette M. Blitch
                                BRIDGETTE M. BLITCH, ESQUIRE
                                Florida Bar No.: 064969
                                BLITCH WESTLEY BARRETTE, S.C.
                                9100 Conroy Windermere Road, Suite 200
                                Windermere, Florida 34786
                                Telephone: (407) 574-2835
                                Facsimile: (608) 829-2982
                                Primary: bblitch@bwesq.com
                                Secondary: mmock@bwesq.com
                                Tertiary: jsybert@bwesq.com
                                Attorneys for Plaintiff




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